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                        UNITED STATES DISTRICT COUR
                      SOUTHERN DISTRICT OF                                    OCT - 4 2012
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                                                                 SCUTt i~(.;~           Gt "S'OFm!A
                                                                 BY
UNITED STATES OF AMERICA,                    CASE NO. 12cr380

                        Plaintiff,
                vs.                          JUDGMENT OF DISMISSAL
STEVE AGRAMON,

                        Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

      an indictment has been filed in another case against the defendant and
      the Court has granted the motion of the Government for dismissal of
      this case, without prejudice; or

      the Court has dismissed the case for unnecessary delay; or

-X-   the Court has granted the motion of the Government for dismissal,
      without prejudice; or

      the Court has granted the motion of the defendant for a judgment of
      acquittal; or

      a jury has been waived, and the Court has found the defendant not
      guilty; or

      the jury has returned its verdict, finding the defendant not guilty;

-X-   of the offense(s) as charged in the Indictment:

      21 USC 952, 960 AND 963 - CONSPIRACY TO IMPORT MARIJUANA



           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: 10/4/12
                                             w~
                                             U.S. Magistrate Judge
           Case 3:12-cr-03809-AJB              Document 33      Filed 10/04/12             PageID.58                           Page 2 of 2


                                        UNITED STATES DISTRICT COLJRT
                                      SOUTHERN DISTRICT OF CALIFORNIA



         UNITED STATES OF AMERICA               )                              I              "
                                                                CASENUMBER__~~,l~C~I~~~'_'=~~'~'L'_.
                                                                                                          n '2 )If) (I, ' J'\ , . .;) (/.'
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                                                )
                        vs                      )               ABSTRACT OF ORDER
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                                                )
                                                                Booking No.         '3 J 7~l ( A q r.
                                                )
                                                )
                                                )
TO THE UNITED STATES MARSHAL AND I ORWA~D1EN'I·M.ETRDPOLITAN CORRECTIONAL CENTER:
         Beadvisedthatunderda~~~~~~~IC~_L_1~IJ_'~~~~~~~~~~~~~~~~~~~
the Court entered the following order:




~~~~~~_ Defendant be released from custody.

_ _ _ _ _ _ Defendant placed on supervised I unsupervised probation I supervised release.

~~~~~~_                Defendant continued on supervised I unsupervised probation I supervised release

                       and released from custody.

~~~~~~_ Defendant released on                   ~~~~~~~_bond posted.

_______~ Defendant appeared in Court. FINGERPRINT & RELEASE.

_~~~~~_                Defendant remanded and \-~_ _ bond) {\-____ bond on appeal} exonerated.

_ _ _ _ _~ Defendant sentenced to TIME SERVED, supervised release for                                            years.

_~~~_~_                c.c. judgment Court of Appeals \_ _ _ affirming) \_ _ _ reversing) decision of this Court:

                       ~__dismissing appeal filed.

_ _ _ _ _ _~ Bench Warrant Recalled.

_ _ _ _ _ _~ Defendant forfeited collateral.

_ _ _--'--_ _ Case Dismissed.

_ _ _ _ _ _ Defendant to be released to Pretrial Services for electronic monitoring.

                       Other_ _~_~~_ _ _~~~__~~~~~~~~~~~_~~_ _~~



                                                                   UNITED S.,.j\TEa~AGISTRATE JUDGE
                                                                          .'/,""~          \ --.."          ..... .----.~'--




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Crim·9    (Rav 6-95)                                                          "01 - h Ii (1 I...) ( f ~ (/ I * U,S. GPO: 1996-783-398/40151


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